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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )      Mag. No. 21-MJ-00089
                                             )      U.S.M.J. Meriweather
BLAKE AUSTIN REED                            )

                                 NOTICE OF APPEARANCE

      Comes now Attorney Paul Bruno and hereby gives notice that he represents Blake Austin

Reed in this matter.

                                                    Respectfully submitted,



                                                    s/ Paul Bruno
                                                    Paul Bruno, B.P.R. #17275
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing Notice of Appearance has been
electronically delivered to Jamie Carter, Assistant United States Attorney, 555 4th Street, NW,
Washington, D.C. 20530, on this the 26th day of February, 2021.

                                                    s/ Paul Bruno
                                                    Paul Bruno
